                             Case 2:23-bk-01370-FMD       Doc 73-1          Filed 06/04/25   Page 1 of 3
Label Matrix for local noticing             ACAR Leasing Ltd. d/b/a GM Financial Leasing     Acar Leasing Ltd, Inc., D/B/A Gm Financial L
113A-2                                      P O Box 183853                                   4000 Embarcadero Drive
Case 2:23-bk-01370-FMD                      Arlington, TX 76096-3853                         Arlington, TX 76014-4101
Middle District of Florida
Ft. Myers
Wed Jun 4 15:23:23 EDT 2025
(p)INTERNAL REVENUE SERVICE                 PRA Receivables Management LLC                   SouthState Bank, N.A.
CENTRALIZED INSOLVENCY OPERATIONS           POB 41067                                        c/o Nicole Mariani Noel
PO BOX 7346                                 Norfolk, VA 23541-1067                           P.O. Box 800
PHILADELPHIA PA 19101-7346                                                                   Tampa, FL 33601-0800


United States Trustee - FTM7/13 7           ACAR Leasing Ltd. d/b/a GM Financial             (p)AMERICAN HONDA FINANCE
Timberlake Annex, Suite 1200                P O Box 183853                                   P O BOX 168088
501 E Polk Street                           Arlington, TX 76096-3853                         IRVING TX 75016-8088
Tampa, FL 33602-3949


Bank of America                             Barclays Bank                                    CW Diamond
P.O. Box 851001                             P.O. Box 8802                                    5306 Six Forks RD
Dallas, TX 75285-1001                       Wilmington, DE 19899-8802                        Raleigh, NC 27609-4467



Capital One                                 Capital One N.A.                                 Churchill Group
PO Box 30285                                by American InfoSource as agent                  4770 Duke Drive, Suite #190
Salt Lake City, UT 84130-0285               PO Box 71083                                     Mason, OH 45040-9376
                                            Charlotte, NC 28272-1083


CitiBank                                    Citibank, N.A.                                   Coastal Resource Staffing LLC
PO Box 6500                                 5800 S Corporate Pl                              c/o Kimberly Whelpley, its Member
Sioux Falls, SD 57117-6500                  Sioux Falls, SD 57108-5027                       66 Hasell St.
                                                                                             Charleston, SC 29401-1616


Covered Care                                Delta Capital                                    Department of Revenue
Westlake Portfolio Management               2802 N. 29 Ave                                   PO Box 6668
P O Box 847405                              Hollywood, FL 33020-1506                         Tallahassee, FL 32314-6668
Los Angeles, CA 90084-4712


(p)DIESEL FUNDING LLC                       (p)DISCOVER FINANCIAL SERVICES LLC               Discover Bank
ATTN AVI GRUENSTEIN                         PO BOX 3025                                      P.O. Box 3025
633 NE 167TH STREET                         NEW ALBANY OH 43054-3025                         New Albany, Oh 43054-3025
STE 1205
NORTH MIAMI BEACH FL 33162-2449

Fox Capital Group                           Fuel Express Fleet                               Fundamental Capital, LLC
1145 S. 800 E.                              820 A Johnnie Dodds Blvd                         20803 Biscayne Blvd. Suite 300
Orem, UT 84097-7281                         Mount Pleasant, SC 29464-3158                    Aventura, FL 33180-1431



Green Sky Loan program                      Greensky,LLC                                     Internal Revenue Service
P.O. Box 2730                               3155 Royal Drive Suite 175                       Centralized Insolvency Ops
Alpharetta, GA 30023-2730                   Alpharetta, GA 30022-2479                        PO Box 7346
                                                                                             Philadelphia, PA 19101-7346
                               Case 2:23-bk-01370-FMD        Doc 73-1          Filed 06/04/25   Page 2 of 3
Internal Revenue Service                       Intuit Out Scource                               Jennifer S. Ivey
P.O. Box 7346                                  Jay Shaw & Richard James & Assoc.                66 Hasell Street
Philadelphia, PA 19101-7346                    4317 NE Thurston Way Suite 270                   Charleston, SC 29401-1616
                                               Vancouver, WA 98662-6673


Kimberely Whelpley                             Kimberly Whelpley                                LVNV Funding, LLC
C/o Ross A. Appel, Esq                         8345 Palmetto Road                               Resurgent Capital Services
2036 ewall Street                              Edisto Island, SC 29438-6919                     PO Box 10587
Mount Pleasant, SC 29464-3076                                                                   Greenville, SC 29603-0587


Lending Club                                   LendingClub Bank, NA                             National Trench Safety
595 Market Street                              P.O. BOX 884268                                  260 N Sam Huston Hwy W #200
Suite 200                                      Los Angeles, CA 90088-4268                       Houston, TX 77060
San Francisco, CA 94105-5839


ODK Capital                                    ODK Capital, LLC                                 Pinnacle Business Funding
175W Jackson Blvd, Ste. 1000                   1400 Broadway                                    1777 Reisterstown Rd
Chicago, IL 60604-2863                         New York, NY 10018-5300                          Pikesville, MD 21208-1313



Plasticade                                     (p)PORTFOLIO RECOVERY ASSOCIATES LLC             QBE Insurance
100 Howard Ave                                 PO BOX 41067                                     One QBE Way
Des Plaines, IL 60018-1958                     NORFOLK VA 23541-1067                            Sun Prairie, WI 53596-0002



Site 20/20                                     Site 2020 Incorporated                           Site Safe Products
24 Akerley Blvd #1                             c/o Michael C. O’Neill, Esq.                     P O Box 4309
Dartmouth. NS                                  Hodgson Russ LLP                                 Leitchfield, KY 42755-4309
B3B 1J3, Canada                                140 Pearl Street, Suite 100
                                               Buffalo, NY 14202-4040

(p)DOVENMUEHLE MORTGAGE                        Star Cleaning USA                                (p)SUNBELT RENTALS INC
1 CORPORATE DRIVE SUITE 360                    12054 NW 98th Ave                                ATTN BETH MONTGOMERY
LAKE ZURICH IL 60047-8945                      Hialeah, FL 33018-2964                           1799 INNOVATION POINT
                                                                                                FORT MILL SC 29715-4556


Synchrony Bank                                 Synchrony Bank                                   (p)US BANK
P O Box 71783                                  by AIS InfoSource LP as agent                    PO BOX 5229
Philadelphia, PA 19176-1783                    PO Box 4457                                      CINCINNATI OH 45201-5229
                                               Houston, TX 77210-4457


United States Trustee                          Value Staffing Resource Group, LLC               Wellen Capital
501 E.Polk St., Ste 1200                       800 Oak Ridge Tpke. Ste A-500                    872 S. Milwaukee Ave
Tampa, FL 33602-3945                           Oak Ridge, TN 37830-6950                         Libertyville, IL 60048-3227



Wells Fargo Bank Small Business Lending Divi   Wells Fargo Bank, N.A.                           Wells Fargo Bank, N.A., Wells Fargo Card Ser
P.O. Box 29482 MAC S4101-08C                   MACF2303036                                      PO Box 10438, MAC F8235-02F
Phoenix, AZ 85038-9482                         PO Box 5129                                      Des Moines, IA 50306-0438
                                               Sioux Falls, SD 57117-5129
                               Case 2:23-bk-01370-FMD              Doc 73-1         Filed 06/04/25       Page 3 of 3
Wells Fargo Platinum Visa                            Benjamin G Martin                                    Edgar Clarence Godfrey III
PO Box 5058                                          Law Offices of Benjamin Martin                       510 Via Cintia
Portland, OR 97208-5058                              3131 S. Tamiami Trail, Suite 101                     Punta Gorda, FL 33950-5253
                                                     Sarasota, FL 34239-5101


Jon Waage                                            Nancy Jo Godfrey
P O Box 25001                                        510 Via Cintia
Bradenton, FL 34206-5001                             Punta Gorda, FL 33950-5253




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Internal Revenue Service                             American Honda Finance Corporation                   Diesel Funding LLC
SBSE Insolvency T2-SA/SE Grp1                        National Bankruptcy Center                           1100 N.E. 163rd Street
400 West Bay St., Mail Stop 5730                     P.O. Box 168088                                      Miami, FL 33162
Stop 5730-GRP 1                                      Irving, TX 75016-8088
Jacksonville, FL 32202-4437

Discover                                             Portfolio Recovery Associates, LLC                   (d)Portfolio Recovery Associates, LLC
Attn: Bankruptcy                                     PO Box 41067                                         POB 41067
P.O. Box 30949                                       Norfolk, VA 23541                                    Norfolk VA 23541
Salt Lake City, UT 84130-0939


South State Bank, N.A                                Sunbelt Rental                                       U.S. Bank National Association
1 Corporate Drive, Suite 360                         2341 Deerfield DRIVE                                 Bankruptcy Department
Lake Zurich, IL 60047                                Fort Mill, SC 29708                                  PO Box 108
                                                                                                          Saint Louis MO 63166-0108


(d)US Bank
P.O. Box 6352
Fargo, ND 58125-6352




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)ACAR Leasing LTD d/b/a GM Financial Leasin        (d)Kimberly Whelpley                                 End of Label Matrix
P.O. Box 183853                                      8345 Palmetto Road                                   Mailable recipients   64
Arlington, TX 76096-3853                             Edisto Island, SC 29438-6919                         Bypassed recipients    2
                                                                                                          Total                 66
